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11/21/2017 09:15 AM CST




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                                Nebraska Court of A ppeals A dvance Sheets
                                     25 Nebraska A ppellate R eports
                                                  HEDGLIN v. ESCH
                                                Cite as 25 Neb. App. 306



                         Casandra A. Hedglin,              appellant, v.    Jerry A. Esch,
                           individually and in his representative capacity,
                                    and the    City   ofH astings, Nebraska,
                                  a political corporation and a      Nebraska
                                        political   subdivision, appellees.
                                                    ___ N.W.2d ___

                                        Filed November 21, 2017.     No. A-17-039.

                1.	 Political Subdivisions Tort Claims Act: Judgments: Appeal and
                    Error. In actions brought pursuant to the Political Subdivisions Tort
                    Claims Act, the factual findings of the trial court will not be disturbed
                    on appeal unless clearly wrong; however, questions of law are reviewed
                    independently of the decision reached by the court below.
                2.	 Statutes: Appeal and Error. Statutory interpretation presents a ques-
                    tion of law. When reviewing questions of law, an appellate court has
                    an obligation to resolve the questions independently of the conclusions
                    reached by the trial court.
                3.	 Motions to Dismiss: Rules of the Supreme Court: Summary
                    Judgment: Pleadings. When matters outside the pleading are presented
                    by the parties and accepted by the trial court with respect to a motion
                    to dismiss under Neb. Ct. R. Pldg. § 6-1112(b)(6), the motion shall be
                    treated as a motion for summary judgment and the parties shall be given
                    a reasonable opportunity to present all material made pertinent to such a
                    motion by statute.
                4.	 Motions to Dismiss: Summary Judgment: Notice. The purpose of
                    providing notice that a motion to dismiss has been converted to a motion
                    for summary judgment is to give the party sufficient opportunity to dis-
                    cover and bring forward factual matters which may become relevant in
                    the summary judgment context, as distinct from the dismissal context.
                5.	 Political Subdivisions Tort Claims Act: Waiver: Immunity. The
                    Political Subdivisions Tort Claims Act reflects a limited waiver of gov-
                    ernmental immunity and prescribes the procedure for maintenance of a
                    suit against a political subdivision.
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                 25 Nebraska A ppellate R eports
                              HEDGLIN v. ESCH
                            Cite as 25 Neb. App. 306
 6.	 Political Subdivisions Tort Claims Act. The Political Subdivisions Tort
     Claims Act is the exclusive means by which a tort claim may be main-
     tained against a political subdivision or its employees.
 7.	 Statutes: Immunity: Waiver. Statutes that purport to waive the protec-
     tion of sovereign immunity of the State or its subdivisions are strictly
     construed in favor of the sovereign and against the waiver.
 8.	 Political Subdivisions Tort Claims Act: Words and Phrases. Personal
     injury, as used in the Political Subdivisions Tort Claims Act, is defined
     broadly to include every variety of injury to a person’s body, feelings,
     or reputation.
 9.	 Political Subdivisions Tort Claims Act: Municipal Corporations:
     Notice. The primary purpose of Neb. Rev. Stat. § 13-905 (Reissue
     2012) is to afford municipal authorities prompt notice of the accident
     and injury in order that an investigation may be made while the occur-
     rence is still fresh and the municipal authorities are in a position to
     intelligently consider the claim and to allow it if deemed just or, in the
     alternative, to adequately protect and defend the public interest.
10.	 Appeal and Error. An alleged error must be both specifically assigned
     and specifically argued in the brief of the party asserting the error to be
     considered by an appellate court.
11.	 Summary Judgment: Appeal and Error. An appellate court will affirm
     a lower court’s grant of summary judgment if the pleadings and admit-
     ted evidence show that there is no genuine issue as to any material facts
     or as to the ultimate inferences that may be drawn from the facts and
     that the moving party is entitled to judgment as a matter of law.
12.	 Actions: Political Subdivisions Tort Claims Act. The Political
     Subdivisions Tort Claims Act specifies various nonjudicial procedures
     which have been characterized as conditions precedent to the filing of
     a lawsuit, and a claimant’s failure to follow these procedures may be
     asserted as an affirmative defense in an action brought under the act.
13.	 Political Subdivisions Tort Claims Act. Under Neb. Rev. Stat. § 13-906     (Reissue 2012) of the Political Subdivisions Tort Claims Act, a claimant
     must file a tort claim with the governing body of the political subdivi-
     sion before filing suit.
14.	 Political Subdivisions Tort Claims Act: Time. If the governing body
     of a political subdivision has not made final disposition of the claim
     within 6 months after it is filed, the claimant may withdraw the claim
     and file suit.
15.	 Political Subdivisions Tort Claims Act: Notice: Time. If a notice of
     a claim under the Political Subdivisions Tort Claims Act is withdrawn
     before expiration of the 6-month time period specified in Neb. Rev.
     Stat. § 13-906 (Reissue 2012), the result is the failure of a condition
     precedent to the filing of a lawsuit under the act.
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                             HEDGLIN v. ESCH
                           Cite as 25 Neb. App. 306
16.	 Political Subdivisions Tort Claims Act: Time. Because compliance
     with the statutory time limits set forth in Neb. Rev. Stat. § 13-906     (Reissue 2012) can be determined with precision, the doctrine of sub-
     stantial compliance has no application.
17.	 ____: ____. The language of Neb. Rev. Stat. § 13-906 (Reissue 2012)
     explicitly provides that no suit can be brought in district court unless
     6 months have passed without a resolution of a properly filed claim by
     the political subdivision.

  Appeal from the District Court for Adams County: Stephen
R. Illingworth, Judge. Affirmed.

  Kevin K. Knake, of Johnson Law Office, L.L.C., for
appellant.

  Jeffrey J. Blumel and Ryan M. Kunhart, of Dvorak Law
Group, L.L.C., for appellees.

   Inbody, Pirtle, and R iedmann, Judges.

   R iedmann, Judge.
                      INTRODUCTION
   Casandra A. Hedglin appeals the order of the district court
for Adams County which dismissed her complaint for failing
to state a claim upon which relief could be granted. Although
we treat the motion to dismiss as a motion for summary judg-
ment, we find no merit to the arguments raised on appeal and
therefore affirm.

                         BACKGROUND
   On May 25, 2016, the City of Hastings, Nebraska (the City),
received a notification of claim under the Political Subdivisions
Tort Claims Act (PSTCA), Neb. Rev. Stat. § 13-901 et seq.
(Reissue 2012). The notification stated that Hedglin was mak-
ing a claim against the City for the “personal injury, mental
anguish, and humiliation” she suffered due to the actions of
Jerry A. Esch, who was acting in the scope of his employment
as a police officer for the City.
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   On June 9, 2016, Hedglin commenced the present action
in the Adams County District Court. Her complaint alleged
a cause of action for “Defamation: False Light/Invasion of
Privacy” and contained allegations that were essentially the
same as those raised in her tort claim. The City had not made
a final disposition of the tort claim before Hedglin filed
her complaint.
   In response to the complaint, the City and Esch (collec-
tively the defendants) filed a motion to dismiss pursuant to
Neb. Ct. R. Pldg. § 6-1112(b)(6). The motion asserted that
the complaint failed to state a claim upon which relief could
be granted, because Hedglin failed to comply with the provi-
sions of the PSTCA, specifically § 13-906, and therefore,
the lawsuit was premature and not permitted by the PSTCA.
After holding a hearing on the motion, the district court
agreed and dismissed the complaint. Hedglin now appeals to
this court.

                 ASSIGNMENTS OF ERROR
   Hedglin assigns, restated, that the district court erred in (1)
finding that the PSTCA applies to the causes of action alleg-
ing defamation and false light invasion of privacy and (2)
granting the motion to dismiss.

                   STANDARD OF REVIEW
   [1] In actions brought pursuant to the PSTCA, the factual
findings of the trial court will not be disturbed on appeal
unless clearly wrong; however, questions of law are reviewed
independently of the decision reached by the court below. Funk
v. Lincoln-Lancaster Cty. Crime Stoppers, 294 Neb. 715, 885
N.W.2d 1 (2016).
   [2] Statutory interpretation presents a question of law.
Geddes v. York County, 273 Neb. 271, 729 N.W.2d 661 (2007).
When reviewing questions of law, an appellate court has an
obligation to resolve the questions independently of the conclu-
sions reached by the trial court. Id.                               - 310 -
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                             ANALYSIS
    [3] Before addressing the merits of Hedglin’s assignments
of error, we note that the defendants’ motion was entitled a
motion to dismiss based on § 6-1112(b)(6), and the district
court ruled that the motion to dismiss should be granted. At
the hearing on the motion, however, the court received exhibits
into evidence. Generally, when matters outside the pleading
are presented by the parties and accepted by the trial court
with respect to a motion to dismiss under § 6-1112(b)(6), the
motion shall be treated as a motion for summary judgment
and the parties shall be given a reasonable opportunity to pre­
sent all material made pertinent to such a motion by statute.
Brothers v. Kimball Cty. Hosp., 289 Neb. 879, 857 N.W.2d
789 (2015).
    [4] The fact that a party does not receive such notice of
the conversion of a motion to dismiss is not dispositive, how-
ever. The Supreme Court has recognized that the purpose of
providing notice is to give the party sufficient opportunity to
discover and bring forward factual matters which may become
relevant in the summary judgment context, as distinct from the
dismissal context. See Corona de Camargo v. Schon, 278 Neb.
1045, 776 N.W.2d 1 (2009). In Corona de Camargo, the plain-
tiff was given a reasonable opportunity to present argument
and evidence relevant to the issue of the statute of limitations,
upon which the motions to dismiss were based. And on appeal,
the plaintiff conceded that the underlying facts pertinent to
this issue were not in dispute, i.e., that her claims were made
more than 2 years after the occurrence. Thus, the Supreme
Court concluded that although the motions to dismiss were
converted into motions for summary judgment without notice
to the plaintiff, there was no prejudice, because the motions
presented an issue of law of which the plaintiff was notified in
the motions to dismiss. Id.    Similarly, in Ichtertz v. Orthopaedic Specialists of Neb., 273
Neb. 466, 730 N.W.2d 798 (2007), the defendants offered evi-
dence at a hearing on a motion to dismiss, the plaintiff raised
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                         HEDGLIN v. ESCH
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no objection to the exhibits, and the plaintiff was given the
opportunity to offer evidence in opposition to the motion but
declined to do so. On appeal, the plaintiff argued that the trial
court erred in converting the motion to dismiss to a motion for
summary judgment by receiving evidence outside the plead-
ings. The Supreme Court observed that the plaintiff was given
an opportunity to present evidence and did not do so. Id. The
court noted that it could not determine from the record whether
the plaintiff raised before the trial court the issue of conversion
of the motion to dismiss to a motion for summary judgment,
but concluded that whether the court erred in its procedure
regarding the motion to dismiss was not decisive of the matter
and declined to resolve the cause on that basis. Id.   In the present case, we first note that Hedglin does not
assign as error the conversion of the motion. It is clear from
the record that Hedglin was aware the defendants were going
to offer exhibits into evidence in support of their motion, did
not object to the exhibits at the hearing, and was afforded the
opportunity to offer evidence in opposition to the motion but
declined to do so. Further, the motion to dismiss was based on
an issue of law and the relevant facts to that end are undis-
puted; in other words, the date the City received notification
of Hedglin’s claim and the date the complaint was filed in
district court are undisputed, as is the fact that the City never
issued a formal disposition of Hedglin’s claim. We therefore
treat the motion as a motion for summary judgment. We now
turn to the merits of Hedglin’s arguments.
   She first claims that the district court erred in finding that
the PSTCA applied to her complaint. We find no merit to
this argument.
   [5-7] It is undisputed that the City is a political subdivision
of the State of Nebraska and that at all relevant times, Esch
was an employee of the City and acting in the scope of his
employment. The PSTCA reflects a limited waiver of gov-
ernmental immunity and prescribes the procedure for mainte-
nance of a suit against a political subdivision. Geddes v. York
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                         HEDGLIN v. ESCH
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County, 273 Neb. 271, 729 N.W.2d 661 (2007). It is the exclu-
sive means by which a tort claim may be maintained against a
political subdivision or its employees. Id. Statutes that purport
to waive the protection of sovereign immunity of the State or
its subdivisions are strictly construed in favor of the sovereign
and against the waiver. Id.   In the instant case, we first note that the notice of her claim
Hedglin provided to the City specifies that she is making a
claim pursuant to the PSTCA, thereby recognizing that the
PSTCA governs her claim. At oral argument, Hedglin asserted
that the notice provided under the PSTCA was for a negli-
gence claim against the City, whereas the lawsuit filed was for
intentional acts committed by Esch, an employee of the City.
She argues, therefore, that she was not required to file a notice
pursuant to the PSTCA for the claims asserted in the lawsuit.
We disagree.
   In the legislative declarations of the PSTCA, the Legislature
declared:
      [N]o political subdivision of the State of Nebraska shall
      be liable for the torts of its officers, agents, or employees,
      and . . . no suit shall be maintained against such political
      subdivision or its officers, agents, or employees on any
      tort claim except to the extent, and only to the extent,
      provided by the [PSTCA].
§ 13-902.
   [8] The PSTCA defines a tort claim as
      any claim against a political subdivision for money only
      . . . on account of personal injury or death, caused by the
      negligent or wrongful act or omission of any employee
      of the political subdivision, while acting within the scope
      of his or her office or employment, under circumstances
      in which the political subdivision, if a private person,
      would be liable to the claimant for such damage, loss,
      injury, or death . . . .
§ 13-903(4). Personal injury, as used in the PSTCA, is defined
broadly to include every variety of injury to a person’s body,
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feelings, or reputation. Gallion v. O’Connor, 242 Neb. 259,
494 N.W.2d 532 (1993).
   In addition, § 13-905 requires:
         All tort claims under the [PSTCA] shall be filed with
      the clerk, secretary, or other official whose duty it is to
      maintain the official records of the political subdivision,
      or the governing body of a political subdivision may pro-
      vide that such claims may be filed with the duly consti-
      tuted law department of such subdivision.
   Hedglin’s complaint seeks money damages from a political
subdivision for personal injury caused by the wrongful actions
Esch allegedly committed while in the scope of his employ-
ment. Specifically, she claims that the defendants “misused
personal information” and “published . . . false and reckless
statements” about her, placing her in a false light. Thus, she
alleges wrongful acts by the defendants and her claims are tort
claims that fall within the purview of the PSTCA.
   The fact that she claims such acts were intentional instead
of negligent does not excuse the requirement that she provide
notice as required pursuant to § 13-905, because this require-
ment applies to “[a]ll tort claims.” The Nebraska Supreme
Court has recognized the existence of intentional torts in
the context of the PSTCA. See Britton v. City of Crawford,
282 Neb. 374, 803 N.W.2d 508 (2011) (referencing inten-
tional torts contemplated in § 13-910(7)). Furthermore, the
PSTCA is similar to the State Tort Claims Act, Neb. Rev. Stat.
§ 81-8,209 et seq. (Reissue 2014), which is patterned after the
Federal Tort Claims Act. See 28 U.S.C. § 2671 et seq. (2012)
and Johnson v. State, 270 Neb. 316, 700 N.W.2d 620 (2005).
Under the federal act, which also contains a notice provision,
see 28 U.S.C. § 2675, notice is required prior to initiating a
lawsuit even if the tort is an intentional one. See Santiago-
Ramirez v. Secretary of Dept. of Defense, 984 F.2d 16 (1st
Cir. 1993).
   [9] The Nebraska Supreme Court has stated that the pri-
mary purpose of § 13-905 is to afford municipal authorities
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prompt notice of the accident and injury in order that an
investigation may be made while the occurrence is still fresh
and the municipal authorities are in a position to intelli-
gently consider the claim and to allow it if deemed just or,
in the alternative, to adequately protect and defend the public
interest. See Keller v. Tavarone, 265 Neb. 236, 655 N.W.2d
899 (2003). We see no basis upon which to differentiate
intentional torts from torts of negligence when attempting
to accomplish this purpose. We therefore conclude that even
if Hedglin’s present lawsuit is based upon a cause of action
sufficiently different from the negligence claim provided to
the City, she was still required to provide notice pursuant to
the PSTCA.
   [10] Hedglin argues that her complaint also alleges a cause
of action for civil conspiracy. This argument was not assigned
as error, however. An alleged error must be both specifically
assigned and specifically argued in the brief of the party assert-
ing the error to be considered by an appellate court. Cain v.
Custer Cty. Bd. of Equal., 291 Neb. 730, 868 N.W.2d 334(2015). Hedglin’s assignment of error asserts that the district
court erred in concluding that the PSTCA applied to her causes
of action alleging defamation and false light. We therefore do
not address her argument regarding a claim for civil conspiracy.
Having found that Hedglin’s claims come under the PSTCA,
we conclude that the district court did not err in applying the
statutory provisions of the PSTCA.
   Hedglin next argues that the district court erred in granting
the motion to dismiss, which, as determined above, we treat
as a motion for summary judgment. We find no error in the
court’s decision.
   [11] An appellate court will affirm a lower court’s grant
of summary judgment if the pleadings and admitted evidence
show that there is no genuine issue as to any material facts
or as to the ultimate inferences that may be drawn from the
facts and that the moving party is entitled to judgment as a
matter of law. SFI Ltd. Partnership 8 v. Carroll, 288 Neb.
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698, 851 N.W.2d 82 (2014). Here, Hedglin does not dispute
the relevant facts. She notified the City of her claim on May
25, 2016, and commenced her lawsuit on June 9. The ques-
tion is whether these facts satisfy the statutory requirements
of the PSTCA.
   [12-17] The PSTCA specifies various nonjudicial proce-
dures which have been characterized as conditions precedent
to the filing of a lawsuit, and a claimant’s failure to follow
these procedures may be asserted as an affirmative defense in
an action brought under the PSTCA. Geddes v. York County,
273 Neb. 271, 729 N.W.2d 661 (2007). Under § 13-906 of the
PSTCA, a claimant must file a tort claim with the governing
body of the political subdivision before filing suit. Geddes v.
York County, supra. If the governing body has not made final
disposition of the claim within 6 months after it is filed, the
claimant may withdraw the claim and file suit. Id. If, however,
the claim is withdrawn before expiration of the 6-month time
period specified in § 13-906, the result is the failure of a condi-
tion precedent to the filing of a lawsuit under the PSTCA. See
Geddes v. York County, supra. Because compliance with the
statutory time limits set forth in § 13-906 can be determined
with precision, the doctrine of substantial compliance has no
application. Geddes v. York County, supra. The language of
§ 13-906 explicitly provides that no suit can be brought in
district court unless 6 months have passed without a resolution
of a properly filed claim by the political subdivision. Geddes v.
York County, supra.   In the present case, it is undisputed that Hedglin filed
her claim with the City on May 25, 2016, and the City had
not made a final disposition when she filed the complaint in
district court on June 9. She therefore prematurely withdrew
her claim and failed to satisfy a condition precedent to com-
mencement of a lawsuit. As a result, her complaint fails to
state a claim upon which relief can be granted, and therefore,
the district court did not err in granting the motion for sum-
mary judgment.
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   Hedglin argues that the defendants failed to establish that
they were immune to suit under § 13-910 and that her com-
plaint sufficiently pled causes of action for defamation, false
light invasion of privacy, and civil conspiracy. These argu-
ments, however, misinterpret the basis for the defendants’
motion and the grounds upon which the district court entered
judgment. The motion articulates that the complaint fails to
state a claim upon which relief can be granted because Hedglin
failed to comply with § 13-906 when she prematurely with-
drew her claim by filing the lawsuit. The district court agreed,
and it was on that basis that judgment was entered against
Hedglin. Thus, the defendants were not required to prove
immunity or insufficiency of the allegations contained in the
complaint. Having determined that the district court did not err
in its decision, we affirm.

                         CONCLUSION
   We conclude that the motion to dismiss should be treated
as a motion for summary judgment, because evidence was
received in support of the motion. We further find that the
PSTCA governs this action and that because Hedglin prema-
turely withdrew her tort claim, she failed to meet a condition
precedent to filing the present lawsuit. Accordingly, the district
court did not err in granting the motion for summary judgment.
We therefore affirm.
                                                     A ffirmed.
